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                            UNITED STATES DISTRICT COURT                  ZO2OJAN 15     PM 3:147
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION
                                                                                                   T1
COMMISSION FOR LAWYER DISCIPLINE, §
                                                       §
               Plaintiff,                              §
                                                       §
v.                                                     §   CASE # 1:19-CV-754-RP
                                                       §
BRANDI K STOKES,                                       §
                                                       §
               Defendant.                              §

                            AFFIDAVIT OF BRAND! K STOKES
                     IN SUPPORT OF THE DISQUALIFICATION OF
                          MAGISTRATE JUDGE MARK LANE

State of Texas                                 §
County of Travis                               §


       BEFORE ME, the undersigned authority, personally appeared Brandi K Stokes, who

being duly sworn, deposed as follows:

       "My name is Brandi K Stokes. I am at least 18 years of age and of sound mind.      1   am

personally acquainted with the facts alleged herein.

       "All factual allegations within my personal knowledge and stated within the Motion to

Disqualify Magistrate Judge Mark Lane and the Objections to Report and Recommendation of

Magistrate Judge Mark Lane and Request for De Novo Review after the Appointment of

Competent Counsel filed in Case No. 1:1 9-CV-754-RP in the Western District of Texas by me

are true and correct and are hereby incorporated by reference. Further, all legal arguments and

opinions stated therein have been made in good faith, and the Motion to Disqualify Magistrate

Judge Mark Lane was brought within 10 days of discovering the disqualification.

       "All documents attached to and filed with the Motion to Disqualify Magistrate Judge

Mark Lane and the Objections to Report and Recommendation of Magistrate Judge Mark Lane


                                                   I
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       and Request for De Novo Review after the Appointment of Competent Counsel filed in Case No

       I   :19-CV-754-RP in the Western District of Texas by me are true and correct copies of

       documents currently within my possession, custody, or control.

                "Should it become necessary to transfer this case outside of the jurisdiction of the United

       States for any reason, the case should be transferred to a NATO member state not otherwise

       disqualified. Currently, Great Britain and France have conflicts of interest.

               "Should it become necessary to transfer this case outside of the jurisdiction of both the

       United States and NATO for any reason, my preference is for the case to be transferred to China.

       While it is true that China has committed grave breaches of the Geneva Conventions, I do not

       believe that mens rea for malicious intent can be established and further do believe that China

       would be the safest jurisdiction outside of NATO for myself and my child to reside.

               "The International Criminal Court has not dropped my Request for Prosecution, and I

       have made it very clear that it is my utmost desire to press charges to the fullest extent of the law

       up to and including death penalty charges. Some people in the Travis County community are

       already eligible for death penalty charges in connection with the deaths of Yariv and Lielle

       Kaplan. Because the stakes are so high, the conflicts of interest in the case are likely to be

       extraordinarily complex and the effort to discredit or intimidate me is not likely to stop.

               "Further Affiant Sayeth Not.


                                                                                  4
                                                      Brandi K Stokes, Affiant

       SUBSCRIBED AND SWORN TO BEFORE ME by Brandi K Stokes on January 15, 2020.


           State of Texas
          County of Travis
This Instrument was acknowledged
 efore me on
                                                     NU
                                                     ________________________________
                                                                   c, State   of Texas

By              SA1                                      2
                                                                                 GAIRRY KEITH STEWART
                                                                                  Notary ID #132253924
                                                                                 My Commission Expires
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                            CERTIFICATE OF SERVICE

     I certify that on January 15, 2020, a true and correct copy of this AFFIDAVIT OF
BRAND! K STOKES IN SUPPORT OF THE DISQUALIFICATION OF MAGISTRATE
JUDGE MARK LANE was served on counsel for the Plaintiff via CMRRR.




                                             Brandi K Stokes
